3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 350-3   Page 1 of 12




                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                    EXHIBIT 3
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 350-3   Page 2 of 12




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION
                 CIVIL ACTION NO. 3:21-cv-03302-JMC-TJH-RMG


       THE SOUTH CAROLINA STATE         )
       CONFERENCE OF THE NAACP,         )
                                        )
       and                              )
                                        )
       TAIWAN SCOTT, on behalf of       )
       himself and all other similarly )              VIDEO CONFERENCE
       situated persons,                )                DEPOSITION
                         Plaintiffs,    )
            v.                          )                      OF
                                        )
       HENRY D. MCMASTER, in his        )          BENJAMIN HABER FIFIELD
       official capacity as Governor    )
       of South Carolina; THOMAS C.     )
       ALEXANDER, in his official       )
       capacity as President of the     )
       Senate; LUKE A. RANKIN, in his   )
       official capacity as Chairman    )
       of the Senate Judiciary          )
       Committee; JAMES H. LUCAS, in    )
       his official capacity as Speaker )
       of the House of Representatives; )
       CHRIS MURPHY, in his official    )
       capacity as Chairman of the      )
       House of Representatives         )
       Judiciary Committee; WALLACE     )
       H. JORDAN, in his official       )
       capacity as Chairman of the      )
       House of Representatives         )
       Elections Law Subcommittee;      )
       HOWARD KNAPP, in his official    )
       capacity as interim Executive    )
       Director of the South Carolina   )
       State Election Commission; JOHN )
       WELLS, Chair, JOANNE DAY,        )
       CLIFFORD J. EDLER, LINDA MCCALL, )
       and SCOTT MOSELEY, in their      )
       official capacities as members   )
       of the South Carolina Election   )
       Commission,                      )
                                        )
                         Defendants.    )
       _________________________________)
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 3 of 12




                                                                                 162

  1         Q.    Okay.     Did you ever speak to anyone at the South

  2               Carolina State Election Commission about that

  3               process?

  4         A.    I don’t recall speaking to anybody at the South

  5               Carolina State Election Commission.

  6         Q.    Okay.     And later on in this email it says –- and

  7               later on in this email it mentions racial bloc

  8               voting analyses.       Can you explain what a racial bloc

  9               voting analyses is?

 10         BY MR. JONES:

 11                       Objection; calls for expert opinion, form.            You

 12               can answer.

 13         WITNESS ANSWERS:

 14         A.    Sure.     A racial bloc voting analyses is a type of

 15               statistical analysis typically used to support -–

 16               typically used to support the Gingles criteria in

 17               voting rights cases, but not always.            And the point

 18               is to measure the degree of polarization in vote

 19               choice by different groups.

 20         EXAMINATION RESUMED BY MR. PARENTE:

 21         Q.    Okay.     Do you know how to conduct a racial bloc

 22               voting analysis?

 23         A.    I do, yes.

 24         Q.    Did you conduct one on South Carolina this

 25               redistricting cycle?
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 4 of 12




                                                                                 163

  1         A.    Can I speak to my attorney about questions of

  2               privilege?

  3         Q.    Sure.

  4         (WHEREUPON, THERE WAS A PAUSE IN THE PROCEEDINGS.)

  5         EXAMINATION RESUMED BY MR. PARENTE:

  6         Q.    Dr. Fifield, my question was did you perform a

  7               racial bloc voting analysis geared at South Carolina

  8               during this redistricting cycle?

  9         BY MR. JONES:

 10                       Objection; attorney/client privilege, work

 11               product, First Amendment privilege.            You can answer

 12               the question yes or no.

 13         WITNESS ANSWERS:

 14         A.    Yes, with the direction of counsel.

 15         EXAMINATION RESUMED BY MR. PARENTE:

 16         Q.    Okay.     And did you perform that analysis across the

 17               entire state?

 18         BY MR JONES:

 19                       Objection; work product, attorney/client

 20               privilege.      I need a moment to consult about whether

 21               he can provide an answer.          Give us a second.

 22         BY MR. PARENTE:

 23                       Okay.

 24         (WHEREUPON, THERE WAS A PAUSE IN THE PROCEEDINGS.)

 25         BY MR. JONES:
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 5 of 12




                                                                                 164

  1                       Mr. Parente, if you could ask him whether he

  2               remembers for what part of South Carolina he

  3               conducted the analysis, I’ll permit him to answer.

  4         BY MR. PARENTE:

  5                       Okay.

  6         EXAMINATION RESUMED BY MR. PARENTE:

  7         Q.    Dr. Fifield, do you recall if your analysis was

  8               statewide or if it was -- or if it only included

  9               certain counties?

 10         A.    I don’t recall whether or not it was statewide.

 11         Q.    Okay.     Do you recall when you performed this

 12               analysis?

 13         A.    No, I do not.

 14         Q.    Okay.     Do you recall if you performed this analysis

 15               prior to the release of the PL data?

 16         A.    Yeah, I don’t recall if I ran an analysis prior to

 17               the release of the PL data.

 18         Q.    Okay.     Do you recall if you ran that analysis prior

 19               to the filing of litigation on October 12th of ‘21?

 20         A.    I also can’t recall if it was prior to October of

 21               ‘21.

 22         Q.    Okay.     Did you share the results of that analysis

 23               with anyone outside of the ACLU?

 24         A.    Not that I can recall.

 25         Q.    Okay.     So you don’t recall sharing that with Dr.
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 6 of 12




                                                                                 165

  1               Ruoff?

  2         A.    I did not share that analysis with that Dr. Ruoff.

  3         Q.    Do you remember what the results of your analysis

  4               were?

  5         BY MR. JONES:

  6                       Objection; privilege, work product, First

  7               Amendment.     I’m instructing the witness not to

  8               answer.

  9         EXAMINATION RESUMED BY MR. PARENTE:

 10         Q.    Okay.     Do you recall what format the results of that

 11               analysis were in?       For example, a memo or an email;

 12               do you recall what the format was?

 13         A.    I believe it would have been in a separate document,

 14               so like a memo.

 15         Q.    Okay.     Is that document one of the files that you

 16               copied from your ACLU computer to your personal

 17               computer?

 18         A.    I can’t be sure.

 19         Q.    Okay.     Would you be able to verify that if you

 20               looked at your personal computer?            Would you be able

 21               to tell by the file name, for example?

 22         A.    Yes.

 23         Q.    All right.     All right.        I’m going to go to the next

 24               email.    This is Exhibit 21.        It is an email that’s

 25               Bate stamped SCLWV SUB 0033083.
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 7 of 12




                                                                                 188

  1         A.    As I said previously, not being a map drawer, I

  2               can’t speak to the difficulty of drawing such a map.

  3         Q.    Okay.     Who were the map drawers at the ACLU?           And I

  4               just -- I mean map drawers generally, not

  5               specifically who drew these maps, because we’ve

  6               already talked about that.          But who are map drawers

  7               at the ACLU?

  8         A.    So, there a couple of people with Maptitude training

  9               at the ACLU.      Those would be Devin McCarthy and Alex

 10               Yurcaba.

 11         Q.    And could you just repeat that second name again?                 I

 12               think it cut out a little bit for me.

 13         A.    Yes.     Alex Yurcaba.

 14         Q.    And would you mind spelling that last name if you’re

 15               able to?

 16         A.    Y-U-R-C-A-B-A.

 17         Q.    And are Devin and Alex the only two at the ACLU you

 18               know have Maptitude training?

 19         A.    Yes, that are currently at the ACLU.

 20         Q.    Okay.     What about former employees of the ACLU who

 21               would have had Maptitude training during the

 22               2020/2021 redistricting process?

 23         A.    So, that would have included Dr. Sanchez and Sarik

 24               Goyal.

 25         Q.    And if you’re able to, would you be able to spell
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 350-3   Page 8 of 12




                                                                                 189

  1               that last name for me?

  2         A.    G-O-Y-A-L.

  3         Q.    And what was the first name again?

  4         A.    Sarik, S-A-R-I-K.

  5         Q.    Okay.     Thank you.    And so, your understanding is

  6               that these four individuals are the only four

  7               current or former ACLU employees that had Maptitude

  8               training during this redistricting cycle; is that

  9               correct?

 10         BY MR. JONES:

 11                       Objection; form.     You can answer.

 12         WITNESS ANSWERS:

 13         A.    I can’t speak to specific Maptitude training, but,

 14               yeah, I do believe they know the software.

 15         EXAMINATION RESUMED BY MR. PARENTE:

 16         Q.    Okay.     You mentioned earlier that you used R to

 17               conduct some validation on the League of Women

 18               Voters map using a package called tidylog, I think

 19               you said, is that right?

 20         A.    Again, I think, as I said previously, I can’t be

 21               certain which map that was, whether or not it’s the

 22               like common understanding of the League of Women

 23               Voters map.     I did use tidylog to conduct

 24               validation.

 25         Q.    Okay.     Do you recall if you did a similar validation
3:21-cv-03302-MGL-TJH-RMG       Date Filed 09/02/22      Entry Number 350-3         Page 9 of 12




                                                                                               213

                                      Jan L. Whitworth
                                        Whitworth Court Reporting
                                           Post Office Box 551
                                           Roebuck, SC 29376



            August 19, 2022

            Michael A. Parente, Esquire
            Nexsen Pruet, LLC
            1230 Main Street, Suite 700
            Columbia, South Carolina 29201

            RE:    Deposition of Benjamin Haber Fifield (In Re: Civil Action No. 3:21-cv-
                   03302-JMC-TJH-RMG)

            Dear Mr. Parente,

                   Enclosed you will find both the original and copy of the deposition of
            BENJAMIN HABER FIFIELD, taken the 15th day of August, 2022, in the above-
            referenced case.

                   As you may recall, the witness requested to read and sign his deposition.
            Therefore, by copy of this letter, I am emailing a copy of the transcript to the
            deponent, along with the signature page, errata sheet, and instructions for reading and
            signing.

                    Upon completion of the signature page and errata sheet, the original of these
            pages will be sealed under separate cover and forwarded to you with a copy. If the
            said pages are not completed within the thirty-day period or when required in court,
            the original deposition shall be considered complete with this letter in lieu of the
            signature page.

                                                  Very truly yours,



                                                  Timmi A. Parrish
                                                  Whitworth Court Reporting

            enclosures: original deposition, copy of deposition
3:21-cv-03302-MGL-TJH-RMG     Date Filed 09/02/22    Entry Number 350-3   Page 10 of 12




                                                                                   214

                                          SIGNATURE PAGE
                                  Deposition of Benjamin Haber Fifield
                                      Date of deposition: 08/15/2022
                            Civil Action No.: 3:21-cv-03302-JMC-TJH-RMG


                     I do hereby certify that I have read the
               foregoing deposition given by me before Timmi A.
               Parrish, Notary Public for the state of South
               Carolina.

                PLEASE CIRCLE EITHER "A" OR "B".

                      (A)       Said deposition is correct as is and

                                requires no changes.



                      (B)       I desire that the changes attached

                                hereto, described on the "Errata Sheet"

                                be incorporated into said deposition.




             ____________________________

                                                    BENJAMIN HABER FIFIELD
3:21-cv-03302-MGL-TJH-RMG     Date Filed 09/02/22   Entry Number 350-3    Page 11 of 12




                                                                                   215

                                            ERRATA SHEET
                                  Deposition of Benjamin Haber Fifield
                                      Date of deposition: 08/14/2022
                            Civil Action No.: 3:21-cv-03302-JMC-TJH-RMG



                PAGE     LINE       CHANGE AND REASON FOR CHANGE:

               ______   ______      ________________________________________

                                    ________________________________________


                PAGE     LINE       CHANGE AND REASON FOR CHANGE:

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 350-3   Page 12 of 12




                                                                                216

                             CERTIFICATE OF NOTARY PUBLIC
                      CIVIL ACTION NO. 3:21-cv-03302-JMC-TJH-RMG


                     I, TIMMI A. PARRISH, A NOTARY PUBLIC FOR THE
             STATE OF SOUTH CAROLINA, DULY COMMISSIONED AND QUALIFIED
             AS SUCH, DO HEREBY CERTIFY THAT THE FOREGOING 212 PAGES
             REPRESENTS A TRUE AND ACCURATE TRANSCRIPT OF THE
             FOREGOING DEPOSITION OF BENJAMIN HABER FIFIELD, TAKEN ON
             THE 15TH DAY OF AUGUST, 2022.

                     THAT THE WITNESS WAS DULY PLACED UNDER OATH AND
             ADMONISHED TO SPEAK THE WHOLE TRUTH. THAT THE ORAL
             DEPOSITION WAS DULY TAKEN AND TRANSCRIBED AS TO THE
             QUESTIONS PROPOUNDED AND THE ANSWERS GIVEN.

                     THAT ALL THE OFFERED EXHIBITS, STIPULATIONS AND
             OBJECTIONS, IF ANY, INVOLVED IN THIS CASE ARE DULY
             ATTACHED OR INCLUDED HEREIN.

                     IN WITNESS WHEREOF, I HAVE SET MY HAND AND
             OFFICIAL SEAL THIS 19TH DAY OF AUGUST, 2022.




                                        TIMMI A. PARRISH
                                        NOTARY PUBLIC FOR SOUTH CAROLINA
                                        MY COMMISSION EXPIRES: 5-29-2028
